Case 8:22-cv-00099-DOC-DFM Document 101 Filed 02/11/22 Page 1 of 7 Page ID #:980



 1
   OFFICE OF GENERAL COUNSEL
   U.S. HOUSE OF REPRESENTATIVES
 2 5140 O’Neill House Office Building
   Washington, D.C. 20515
 3
     SHER TREMONTE LLP
 4 90 Broad Street, 23rd Floor
 5 New York, New York 10004
 6 ARNOLD & PORTER
     601 Massachusetts Ave, NW
 7 Washington, D.C. 20001
 8

 9 Counsel for the Congressional Defendants
10
11
                              UNITED STATES DISTRICT COURT

12                          CENTRAL DISTRICT OF CALIFORNIA
13                                   SOUTHERN DIVISION
14
       JOHN C. EASTMAN                           Case No. 8:22-cv-00099-DOC-DFM
15
                     Plaintiff,                  NOTICE
16
       vs.
17
18     BENNIE G. THOMPSON, et al.,

19                   Defendants.
20

21
             In advance of the status conference scheduled for Monday, February 14, the Select
22
23
     Committee submits this Notice to bring two issues to the Court’s attention. First, the

24 Select Committee requests that Plaintiff promptly provide evidence of the relevant
25
     attorney-client relationships—and any applicable joint defense or common interest
26

27 agreements—between the parties on the communications over which Plaintiff has
28 asserted privileges. Second, the Select Committee respectfully proposes that the Court
                                             NOTICE
                                               1
Case 8:22-cv-00099-DOC-DFM Document 101 Filed 02/11/22 Page 2 of 7 Page ID #:981



 1 set an expedited schedule for briefing Plaintiff’s privilege claims for the privilege logs.
 2          1. The Select Committee requests that, by February 15, 2022, Plaintiff provide
 3
     the Select Committee with evidence of the relevant attorney-client relationships—in the
 4
 5 form of engagement letters, retainer agreements, and any applicable joint defense or
 6 common interest agreements—between the parties on the communications over which
 7
     Plaintiff has asserted privilege. The privilege logs Plaintiff has produced include the
 8

 9 assertion of both attorney-client and attorney work product privilege protection over
10 communications with numerous individuals whose affiliation with former President
11
     Trump and the Trump campaign is quite unclear. Critically, the scope and timing of any
12
13 attorney-client relationship(s) between Plaintiff and the Trump Campaign (or Donald
14
     Trump personally) remains uncertain.
15
           On February 3, 2022, the Select Committee specifically requested that Plaintiff
16
17 produce any engagement letter or other writing clarifying the scope of his representation
18
     of former President Trump or his campaign. On February 8, 2022, the Select Committee
19
     again requested that Plaintiff produce (1) any engagement letter(s), retainer agreement(s)
20

21 or other documents reflecting the scope of Plaintiff’s engagement by the former President
22
     or his campaign committee; and (2) any applicable joint defense or common interest
23
     agreements with the parties on the communications over which Plaintiff has claimed
24
25 privilege. Plaintiff has not responded to those requests. This information appears to be
26
     necessary for this Court to evaluate Plaintiff’s privilege claims. Indeed, without this
27
28
     information being made available to the Select Committee and the Court, it is difficult to

                                              NOTICE
                                                2
Case 8:22-cv-00099-DOC-DFM Document 101 Filed 02/11/22 Page 3 of 7 Page ID #:982



 1 see how Plaintiff can meet his burden of establishing that the privileges he has broadly
 2 claimed actually do apply.

 3
            2. The Select Committee also respectfully requests that, at Monday’s status
 4
 5 hearing, the Court consider setting a briefing schedule to address Plaintiff’s privilege
 6 claims contained on the privilege logs. The Select Committee urgently needs the
 7
     documents at issue in these privilege logs to inform its investigation, including upcoming
 8

 9 depositions and hearings, as well as forthcoming reports. See H. Res. 503, 117th Cong.
10 (2021). Delaying briefing until Plaintiff completes his review will substantially hinder
11
     that investigation.
12
13         The Select Committee’s investigation has developed evidence that Plaintiff was a
14
     central figure in efforts to overturn the 2020 Presidential election, including efforts
15
     directed at state legislators throughout the post-election period and at the Vice President
16
17 in connection with the certification of the electoral vote on January 6. The documents at
18
     issue are thus crucial to the Select Committee’s investigation into the “interference with
19
     the peaceful transfer of power,” including the “influencing factors that fomented” the
20

21 attack on American democracy. Id. The Select Committee’s urgent need for resolution
22
     of the privilege issues is heightened by the fact that Plaintiff has broadly claimed
23
     privileges over a vast swath of documents—many of which appear to be critical to the
24
25 Select Committee’s investigation—contrary to governing law. And many of Plaintiff’s
26
     descriptions fall far short of the requirements in Federal Rule of Civil Procedure
27
28
     26(b)(5)(A).

                                              NOTICE
                                                3
Case 8:22-cv-00099-DOC-DFM Document 101 Filed 02/11/22 Page 4 of 7 Page ID #:983



 1         By way of illustration, on the February 1 log, the description for Chapman004545-

 2 46 is “Comm re filing”; for Chapman004794-98 is “Comm re legal arguments”; for

 3
     Chapman004539 is “Comm with co-counsel”; and for Chapman004541-44 is
 4
 5 “Attachment re filing.” On the February 3 log, the description for Chapman006592 is
 6 “comm re proposal to consider”; for Chapman007498-502 (and many others) is simply
 7
     “Attachment”; and for Chapman006591 is “comm re legal proposals.”
 8

 9         Prompt resolution of Plaintiff’s extremely broad privilege claims is crucial to the
10 Select Committee’s rapidly proceeding investigation. Indeed, many of the Select
11
     Committee’s objections (both global and specific) apply to all or many of the documents
12
13 over which Plaintiff has claimed privilege, and it would therefore greatly streamline the
14
     review process to have the Court’s guidance on those issues going forward. The Select
15
     Committee will therefore suggest at Monday’s status conference that this Court should
16
17 resolve the privilege claims. The Select Committee proposes the following briefing
18
     schedule:
19
           Monday, February 21, 2022:      Select Committee’s opening brief
20

21         Monday, February 28, 2022:      Plaintiff’s response brief
22
           Thursday, March 3, 2022:        Select Committee’s reply brief
23
24
25
26

27
28
                                             NOTICE
                                               4
Case 8:22-cv-00099-DOC-DFM Document 101 Filed 02/11/22 Page 5 of 7 Page ID #:984



 1                                      Respectfully submitted,

 2                                      /s/ Douglas N. Letter
 3                                      DOUGLAS N. LETTER
                                          General Counsel
 4                                      TODD B. TATELMAN
 5                                        Principal Deputy General Counsel
                                        ERIC R. COLUMBUS
 6                                        Special Litigation Counsel
 7                                      STACIE M. FAHSEL
                                          Associate General Counsel
 8

 9                                      OFFICE OF GENERAL COUNSEL
                                        U.S. HOUSE OF
10                                      REPRESENTATIVES
11                                      5140 O’Neill House Office Building
                                        Washington, D.C. 20515
12                                      (202) 225-9700
13                                      Douglas.Letter@mail.house.gov
14                                      -and-
15
                                        SHER TREMONTE LLP
16
                                        Justin M. Sher
17                                      Michael Tremonte
                                        Noam Biale
18
                                        Maya Brodziak
19                                      Kathryn E. Ghotbi
                                        90 Broad Street, 23rd Floor
20
                                        New York, New York 10004
21                                      (212) 202-2600
                                        JSher@shertremonte.com
22
                                        MTremonte@shertremonte.com
23                                      NBiale@shertremonte.com
                                        MBrodziak@shertremonte.com
24
                                        KGhotbi@shertremonte.com
25
                                        -and-
26

27
28
                                      NOTICE
                                        5
Case 8:22-cv-00099-DOC-DFM Document 101 Filed 02/11/22 Page 6 of 7 Page ID #:985



 1
                                        ARNOLD & PORTER
 2                                      John A. Freedman
 3                                      Paul Fishman
                                        Amy Jeffress
 4                                      601 Massachusetts Ave, NW
 5                                      Washington, D.C. 20001
                                        (202) 942-5000
 6                                      John.Freedman@arnoldporter.com
 7                                      Paul.Fishman@arnoldporter.com
                                        Amy.Jeffress@arnoldporter.com
 8

 9                                      Counsel for Congressional Defendants
10
11
12 Dated: February 11, 2022
13
14

15
16
17
18
19
20

21
22
23
24
25
26

27
28
                                      NOTICE
                                        6
Case 8:22-cv-00099-DOC-DFM Document 101 Filed 02/11/22 Page 7 of 7 Page ID #:986



 1                              CERTIFICATE OF SERVICE
 2
                       WASHINGTON, DISTRICT OF COLUMBIA
 3       I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:

 5         OFFICE OF GENERAL COUNSEL
           U.S. HOUSE OF REPRESENTATIVES
 6         5140 O’Neill House Office Building
 7
           Washington, D.C. 20515

 8         On February 11, 2022, I served the NOTICE on the interested parties in this
     action:
 9
10         Anthony T. Caso
           Constitutional Counsel Group
11         174 W Lincoln Ave #620
12         Anaheim, CA 92805-2901
           atcaso@ccg1776.com
13
14         Charles Burnham
           Burnham & Gorokhov PLLC
15         1424 K Street NW, Suite 500
16         Washington, DC 20005
           charles@burnhamgorokhov.com
17
18         Attorneys for Plaintiff John C. Eastman
19
          (BY E-MAIL OR ELECTRONIC TRANSMISSION)
20          The document was served on the following via The United States District Court –
21
            Central District’s CM/ECF electronic transfer system which generates a Notice
            of Electronic Filing upon the parties, the assigned judge, and any registered user
22          in the case:
23
          (FEDERAL) I declare under penalty of perjury that the foregoing is true and
24                  correct, and that I am employed at the office of a member of
                    the bar of this Court at whose direction the service was made.
25
26         Executed on February 11, 2022 here, at Bethesda, Maryland.
27
                                                     /s/ Douglas N. Letter
28

                                    CERTIFICATE OF SERVICE
